      Case 2:21-cv-00131 Document 133 Filed on 12/07/21 in TXSD Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS,
                               CORPUS CHRISTI DIVISION

 DIAGNOSTIC AFFILIATES OF                       §
 NORTHEAST HOU, LLC D/B/A 24                    §
 HOUR COVID RT-PCR LABORATORY                   §
                                                §
        Plaintiff,                              §      C.A. No. 2:21-cv-00131
                                                §
 v.                                             §
                                                §
 UNITED HEALTH GROUP, INC., ET AL               §
                                                §
        Defendants.



            PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
                            MOTION TO DISMISS

       Plaintiff Diagnostic Affiliates of Northeast Hou, LLC d/b/a 24 Hour Covid RT-PCR

Laboratory (“Plaintiff”) respectfully submits this Response in Opposition to Defendant’s Motion

to Dismiss filed by Delta Account Based Health Plan’s [Doc. 112].

       Plaintiff filed this action seeking to recover health plan benefits for COVID-19 diagnostic

testing that Plaintiff performed. Plaintiff named as Defendants UnitedHealth Group Incorporated

(“UHG”), United HealthCare Services, Inc. (“UHCS”), UnitedHealthcare Benefits of Texas, Inc.

(“UHB of Texas”), UnitedHealthcare of Texas, Inc. (“UHC of Texas”), UMR, Inc.(“UMR”), and

OptumHealth Care Solutions, LLC (“Optum”) (together, the “United Entities”) and numerous

employer-sponsored health benefit plans, including Delta Account Based Health Plan, (“Delta”).

With respect to Delta, Plaintiff asserts claims for benefits pursuant to Sections 502(a)(1)(B) and

503 of ERISA and for violation of the Families First Coronavirus Response Act (the “FFCRA”)

and the Coronavirus Aid, Relief, Economic Security Act (the “CARES Act”), which are identical

_____________________________________________________________________________________________
Plaintiff Diagnostic Affiliates of Northeast Hou, LLC d/b/a 24Hour Covid RT-PCR-Laboratory’s
Response to Delta’s Motion to Dismiss
1|Page
     Case 2:21-cv-00131 Document 133 Filed on 12/07/21 in TXSD Page 2 of 3




to those asserted against the employer-sponsored health plans who, together with United, have

submitted the pending Motion to Dismiss Plaintiff’s Complaint and Brief in Support [Doc. 67].

       On October 29, 2021, Plaintiff filed Plaintiff’s Response Brief in Opposition to

Defendants’ Motion to Dismiss [Doc. 99].

       On November 16, 2021, Delta filed its own motion to dismiss Plaintiff’s complaint [Doc.

112], with the identical assertions of UHG and the other 85 Defendants. Plaintiff’s defense to the

allegations in opposition to Delta’s claims are identical to the other Defendants. For the reasons as

stated in Plaintiff’s Response Brief in Opposition to Defendant’s Motion to Dismiss [Doc. 99],

Plaintiff hereby joins, incorporates, and adopts by reference the arguments and authorities asserted

in Plaintiff’s Response in Opposition to Defendant’s Motion to Dismiss [Doc. 99] pursuant to Fed.

R. Civ. P. 10(c).

                                         CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that this Court deny Delta Account

Based Health Plan’s Motion to Dismiss.

Dated: December 7, 2021

                                                      Respectfully Submitted,

                                                      By: /s/ Ebad Khan
                                                      Ebadullah (Ebad) Khan
                                                      Federal Bar No. 2810999
                                                      State Bar No. 24092625
                                                      ekhan@24hourcovid.com
                                                      23330 US-59, Suite 300
                                                      Kingwood, Texas 77339
                                                      (281) 319.8306 Direct
                                                      (281) 605.6690 Facsimile
                                                      Attorney for Plaintiff



_____________________________________________________________________________________________
Plaintiff Diagnostic Affiliates of Northeast Hou, LLC d/b/a 24Hour Covid RT-PCR-Laboratory’s
Response to Delta’s Motion to Dismiss
2|Page
     Case 2:21-cv-00131 Document 133 Filed on 12/07/21 in TXSD Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of December 2021, the above and foregoing Plaintiff’s

Diagnostic Affiliates of Northeast Houston, LLC d/b/a 24Hour Covid RT-PCR- Laboratory’s

Response to Motion to Dismiss was electronically filed with the Clerk of the Court using the

CM/ECF system, which sent notice of electronic filing to all counsel of record.



                                                /s/ Ebad Khan
                                                ATTORNEY FOR PLAINTIFF




_____________________________________________________________________________________________
Plaintiff Diagnostic Affiliates of Northeast Hou, LLC d/b/a 24Hour Covid RT-PCR-Laboratory’s
Response to Delta’s Motion to Dismiss
3|Page
